       Case 4:21-cv-08291-YGR Document 13 Filed 11/15/21 Page 1 of 3

                                                                       S DISTRICT
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 1   NOSSAMAN LLP




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                                                                                                    RT
     PATRICK J. RICHARD (SBN 131046)                                                         ED




                                                         UNIT
                                                                           O     ORDER
 2   prichard@nossaman.com                                         IT IS S




                                                                                                            R NIA
     ILSE C. SCOTT (SBN 233433)
 3   iscott@nossaman.com                                                                              ers
                                                                                           alez Rog
                                                                                 ne Gonz




                                                         NO
     50 California Street, 34th Floor                                       on
                                                                   Judge Yv




                                                                                                            FO
 4   San Francisco, CA 94111




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     Telephone:     415.398.3600                                  ER         11/15/21




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 5   Facsimile:     415.398.2438                                       N                               C
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                                                                           D IS T IC T O
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 6   Attorneys for Plaintiff
     IT INVEST FINANCIAL SOLUTIONS (CYPRUS) LIMITED
 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10   IT INVEST FINANCIAL SOLUTIONS                Case No: 4:21-cv-08291-YGR
     (CYPRUS) LIMITED, a private limited
11   company,                                     JOINT STIPULATION OF DISMISSAL
                                                  WITHOUT PREJUDICE
12                 Plaintiff,
13           vs.
14   EVC FINTECH I LLC, a limited liability
     company, and EVC FINTECH
15   MANAGEMENT LLC, a limited liability
     company,
16
                   Defendants.
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                                                                                  Case No. 4:21-cv-08291-YGR
                         JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     60116632.v4
       Case 4:21-cv-08291-YGR Document 13 Filed 11/15/21 Page 2 of 3



 1           WHEREAS, IT Invest Financial Solutions (Cyprus) Limited (“ITI”) as Claimant and
 2   EVC Fintech I LLC and EVC Fintech Management LLC (together, “EVC”) as Respondents are
 3   parties to an arbitration before JAMS under JAMS’ International Arbitration Rules (the
 4   “Arbitration”);
 5           WHEREAS, or about September 17, 2021, ITI submitted a Complaint for filing in the
 6   Superior Court of California, County of San Francisco (the “Superior Court”), which sought
 7   injunctive relief in aid of the Arbitration;
 8           WHEREAS, on September 23, 2021, ITI requested that the Clerk of the Superior Court
 9   not process the Complaint or create a case based on the Complaint, because ITI had determined
10   it would not proceed with the Complaint in the Superior Court;
11           WHEREAS, on September 23, 2021, the Clerk of the Superior Court advised ITI that it
12   had rejected the filing of the Complaint at ITI’s request, and therefore, the Clerk of the Superior
13   Court did not process the Complaint for filing, no case number was created, and no case was
14   opened for the Complaint in the Superior Court;
15           WHEREAS, EVC obtained a copy of the Complaint through a court monitoring vendor,
16   and on October 22, 2021, the vendor advised EVC that ITI’s case “will be assigned a number
17   any day now, as cases filed around 9/17 are currently getting docketed,” and EVC was unaware
18   that ITI had elected not to proceed in the Superior Court;
19           WHEREAS, on October 25, 2021 EVC filed in this Court EVC’s Notice of Removal,
20   Notice of Motion and Motion to Compel Arbitration or Alternatively to Dismiss Pursuant to Rule
21   12(b)(6); and
22           WHEREAS, as no underlying case was ultimately opened in the Superior Court, the
23   parties have conferred and agreed to execute this stipulation to dismiss this above-captioned
24   proceeding without prejudice, with each party to bear its own associated costs and fees.
25           NOW THEREFORE, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all
26   parties in the above-caption civil action, by and through their respective undersigned counsel,
27   hereby agree that this action shall be dismissed in its entirety and without prejudice, with each
28   party to bear its own costs and attorneys’ fees.
                                                   -1-                  Case No. 4:21-cv-08291-YGR
                           JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     60116632.v4
       Case 4:21-cv-08291-YGR Document 13 Filed 11/15/21 Page 3 of 3



 1            IT IS SO STIPULATED.
 2

 3    Date:        November 12, 2021                        NOSSAMAN LLP
                                                            PATRICK J. RICHARD
 4                                                          ILSE C. SCOTT
 5                                                          By: /s/ Ilse C. Scott
                                                                   Ilse C. Scott
 6
                                                            Attorneys for Plaintiff
 7                                                          IT INVEST FINANCIAL SOLUTIONS
                                                            (CYPRUS) LIMITED
 8

 9    Date:        November 12, 2021                        MAYER BROWN LLP
10                                                          By: /s/ Alex C. Lakatos
                                                                   Alex C. Lakatos
11
                                                            Attorneys for Respondents
12                                                          EVC FINTECH MANAGEMENT LLC, EVC
                                                            FINTECH I LLC
13

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15            Pursuant to Civ. L.R. 5-1(i)(3), the filer attests that concurrence in the filing of the

16   document has been obtained from the other signatory above.

17

18    Date:        November 12, 2021                        NOSSAMAN LLP
                                                            PATRICK J. RICHARD
19                                                          ILSE C. SCOTT
20                                                          By: /s/ Ilse C. Scott
                                                                   Ilse C. Scott
21
                                                            Attorneys for Plaintiff
22                                                          IT INVEST FINANCIAL SOLUTIONS
                                                            (CYPRUS) LIMITED
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                                                    -2-                  Case No. 4:21-cv-08291-YGR
                            JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     60116632.v4
